
391 Pa. 187 (1958)
Bonfitto, Appellant,
v.
Bonfitto.
Supreme Court of Pennsylvania.
Argued November 12, 1957.
January 6, 1958.
Before JONES, C.J., BELL, CHIDSEY, MUSMANNO, ARNOLD, JONES and COHEN, JJ.
*188 George J. Joseph, for appellant.
Edward J. Danser, with him Fackenthal, Teel, McGiffert &amp; Danser, for appellees.
OPINION PER CURIAM, January 6, 1958:
Judgment affirmed on the opinion of Judge WOODRING, 10 Pa. D. &amp; C. 2d 598.
